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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
   v.                                         )       USDC No. 21-cr-292-02 (RCL)
Daniel Scott,                   defendant.    )

                         UNOPPOSED MOTION TO PERMIT TRAVEL

       Defendant, through undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed

by this Court under the Criminal Justice Act, with no objection from the United States,

respectfully moves the Court to permit defendant’s overnight travel (one night only) during

Eastern weekend, from Saturday, April 9 to Sunday, April 9, 2023.

       The defendant is on personal recognizance release with GPS location monitoring. He

also has a curfew. He wishes to travel with his wife and children to the home of his wife’s aunt,

who lives in Lecanto about 150 miles from the defendant in Lecanto, Florida, which is within the

Middle District of Florida, also the location of the defendant’s residence. The defendant’s release

order permits travel within the Middle District without notification to his Pretrial Services

Agency officer, Katie Murray. However, as Off. Katie Murray explained to counsel, because the

defendant is on curfew, she does not have the authority to grant permission to waive a curfew

and permit travel overnight. The defendant has provided the details of his planned travel to Off.

Murray.

       The defendant is in compliance with his release conditions.

       For the reasons stated above, the defendant urges the Court to permit the defendant’s

travel during the described period.

       A proposed Order is attached.
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       WHEREFORE, the defendant respectfully moves the Court to grant said relief.

                                     This pleading is,

                                  Respectfully submitted,

                                           /s/

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                                CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
William K. Dreher, Esq., USAO-Western District of Washington, attorney of record for the
United States, this 29th day of March, 2023.

                                         /s/
                                   _______________________________
                                   Nathan I. Silver, II
